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February 19, 2021

Re: Sentencing of Ryan Nichols, Case No. 6:21-MJ-00029-KNM

To Whom It May Concern:

I am a small business owner and a life coach residing in St. George, Utah.

Mr. Nichols informed me that he faces charges related to the January 6 inauguration in Washington
DC. In light of these circumstances, I desire to offer an endorsement of Mr. Nichol’s good character.

Mr. Nichols is a father, a successful businessman, a marine and a volunteer. He is a bright, intelligent,
loving, and unselfish person.

I have had the pleasure of working with Mr. Nichols this last year as his life coach. He is one of my
most dedicated clients that I admire and respect. I have been very impressed with his dedication and
commitment of not only improving himself, but with his desire to help others improve. On his own dime,
he employed my coaching services to help his business staff. I have seen Mr. Nichols’ financial
generosity towards others, helping the less fortunate. When Mr. Nichols sees someone struggling
financially, he has helped empower them by teaching them how to contribute to society through
teaching them how to make money and take care of their own needs. And when someone is struggling
in other ways of life, he is always right there, working with that individual to see the light that’s in the
darkness they are dealing with. He has a big heart, and he really cares about people.

Mr. Nichols volunteers his time and money to help many. He cares deeply about ending suffering and
injustices. He started a not for profit called, “Rescue the Universe” to help people in need. Expecting
nothing in return and on his own dime, I witnessed Mr. Nichols numerous times leaving his work and
family behind to go help strangers through a natural disaster. There were many instances where Mr.
Nichols put his own life at risk to help his fellow Americans.

Mr. Nichols is a patriot who loves his country deeply and desires to protect the integrity of our nation. I
served in the Air Force and he, as a Marine. Mr. Nichols was very concerned about the fraudulent
allegations in regards to the 2020 election. As a patriot, he obeyed President Trump’s (at the time, our
acting President) call to gather. I am a witness that Mr. Nichols did not intend to cause any commotion
or harm at Capitol Hill. We spoke prior to his trip to Washington D.C. and not one time did he mention
any intent to hurt, harm or damage anyone or anything.

Mr. Nichols is a father of two young boys who look up to him and miss him immensely. He is a loving
husband to a wife who is currently juggling their business, children, finances and hate threats. Based
upon Mr. Nichols history of his life, he is of good character. He has a lot to give to his country and
others.
